     Case 3:17-cv-00072-NKM-JCH Document 185 Filed 01/18/18 Page 1 of 2 Pageid#: 942

AO 440 (Rev. 06/12) (02/17 WD/VA) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                       for the

                                                         Western District of Virginia
Elizabeth Sines, Seth Wispelwey, Mariss Blair, Tyler Magill,
    April Muniz, Hannah Pearce, Marcus Martin, Natalie                   )
          Romero, Chelsea Alvarado, and John Doe                         )
                             Plaintiff
                                                                         )
                                v.                                       )       Civil Action No.3:17-cv-0072 NFM
Jason Kessler, Richard Spencer, Christopher Cantwell, James              )
    Alex Fields, Jr., Vanguard America, Andrew Anglin,                   )
               Moonbase Holdings, LLC et al.
                           Defendant
                                                                         )


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                         Richard Spencer
                                         645 Woodlands Place, Apt. 3
                                         Whitefish, MT 59937




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 120 days for Social Security Cases filed pursuant to 42 USC 405(g) — you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
                                         Robert T. Cahill, Esq., Cooley LLP
                                         11951 Freedom Drive, 14th Floor
                                         Reston, VA 20190-5656
                                         Tel: (703) 456-8000 - Email: rcahill@cooley.com
                                         Co-Counsel for Plaintiffs
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT


Date:
                                                                                              Signature of Clerk or Deputy Clerk
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 Civil Action No. 3:17-cv-0072 NFM

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

              I personally served the summons on the individual at (place)
                                                                                     on (date)                         ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                     on (date)                         ; or

              I returned the summons unexecuted because                                                                              ; or

              Other (specify):




           My fees are $                          for travel and $                    for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.

Date:
                                                                                           Server’s signature



                                                                                         Printed name and title




                                                                                            Server’s address
 Additional information regarding attempted service, etc:
